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    Beneficiary 2                                                                                                             Final K-1                         Amended K-1                       OMB No. 1545-0092

    Schedule K-1
    (Form 1041)                                                                   2019
                                                                  For calendar year 2019, or tax year
                                                                                                                     P t II               Beneficiary's Share of Current Year Income
                                                                                                                                          Deductions, Credits, and Other Items
    Department of the Treasury                                                                                  1               Interest income                          11   Final year deductions
    Internal Revenue Service
         NO TAXABLE INCOME                                                                                   2a                 Ordinary dividends

             beginning                                         ending
                                                                                                             2b                 Qualified dividends
    Beneficiary's Share of Income, Deductions,
    Credits, etc.              See back of form and instructions.                                              3               Net short-term capital gain

          Part I          Information About the Estate or Trust
     A    Estate's or trust's employer identification number                                                  4a                Net long-term capital gain



                          8069                                                                               4b                 28% rate gain                            12   Alternative minimum tax adjustment
     B    Estate's or trust's name
                                                                                                             4c                 Unrecaptured section 1250 gain


                                                                                                                5               Other portfolio and
                                                                                                                                nonbusiness income
          Hugh Williams Family Trust
     C    Fiduciary's name, address, city, state, and ZIP code
                                                                                                                6               Ordinary business income

          Scott Williams
          Trustee                                                                                               7               Net rental real estate income

          11423 Spotted Fawn Lane                                                                                                                                        13   Credits and credit recapture
                                                                                                                8
          Bigfork             MT 59911                                                                                          Other rental income


                                                                                                                9               Directly apportioned deductions



     D         Check if Form 1041-T was filed and enter the date it was filed
                                                                                                                                                                         14   Other information


     E         Check if this is the final Form 1041 for the estate or trust
                                                                                                             10                 Estate tax deduction

         Part II          Information About the Beneficiary
     F    Beneficiary's identifying number

                          -0922
     G    Beneficiary s name, address, city, state, and Z P code




          Scott K Williams
          11423 Spotted Fawn Ln
          Bigfork             MT 59911                                                                       *See attached statement for additional information.
                                                                                                             Note: A statement must be attached showing the
                                                                                                             beneficiary's share of income and directly apportioned
                                                                                                             deductions from each business, rental real estate, and
                                                                                                             other rental activity.




                                                                                                                                                                                         110
                                                                                                           For IRS Use Only




     H    X Domestic beneficiary                                 Foreign beneficiary

    For Paperwork Reduction Act Notice, see the Instructions for Form 1041.                             www.irs.gov/Form1041                                                   Schedule K-1 (Form 1041) 2019
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    Schedule K-1 (Form 1041) 2019                                                                                                                                              Page 2
    This list identifies the codes used on Schedule K-1 for beneficiaries and provides summarized reporting information for
    beneficiaries who file Form 1040 or 1040-SR. For detailed reporting and filing information, see the Instructions for Schedule
    K-1 (Form 1041) for a Beneficiary Filing Form 1040 or 1040-SR and the instructions for your income tax return.

                                                      Report on
                                                                                           13. Credits and credit recapture
    1.    Interest income                             Form 1040 or 1040-SR, line 2b
    2a. Ordinary dividends                            Form 1040 or 1040-SR, line 3b            Code                                                Report on
                                                                                               A Credit for estimated taxes                        Form 1040 or 1040-SR, Schedule
    2b. Qualified dividends                           Form 1040 or 1040-SR, line 3a
                                                                                                                                                   3, line 8
    3.    Net short-term capital gain                 Schedule D, line 5                       B Credit for backup withholding                     Form 1040 or 1040-SR, line 17
    4a. Net long-term capital gain                    Schedule D, line 12                      C Low-income housing credit
    4b. 28% rate gain                                 28% Rate Gain Worksheet, line 4          D Rehabilitation credit and energy credit
                                                      (Schedule D Instructions)
                                                                                               E Other qualifying investment credit
    4c. Unrecaptured section 1250 gain                Unrecaptured Section 1250 Gain           F Work opportunity credit
                                                      Worksheet, line 11 (Schedule D
                                                      Instructions)                            G Credit for small employer health
                                                                                                 insurance premiums
    5.    Other portfolio and nonbusiness             Schedule E, line 33, column (f)
                                                                                               H Biofuel producer credit
          income
                                                                                               I Credit for increasing research activities
    6.    Ordinary business income                    Schedule E, line 33, column (d)
                                                                                               J Renewable electricity, refined coal,
                                                      or (f)                                     and Indian coal production credit
    7.    Net rental real estate income               Schedule E, line 33, column (d)          K Empowerment zone employment credit
                                                                                                                                                See the beneficiary's instructions
                                                      or (f)                                   L Indian employment credit
    8.    Other rental income                         Schedule E, line 33, column (d)          M Orphan drug credit
                                                      or (f)
                                                                                               N Credit for employer-provided child
    9.    Directly apportioned deductions
                                                                                                 care and facilities
          Code
                                                                                               O Biodiesel and renewable diesel fuels
          A Depreciation                              Form 8582 or Schedule E, line              credit
                                                      33, column (c) or (e)
                                                                                               P Credit to holders of tax credit bonds
          B Depletion                                 Form 8582 or Schedule E, line
                                                      33, column (c) or (e)                    Q Credit for employer differential wage
                                                                                                 payments
          C Amortization                              Form 8582 or Schedule E, line
                                                      33, column (c) or (e)                    R Recapture of credits
                                                                                               Z Other credits
    10. Estate tax deduction                          Schedule A, line 16
                                                                                           14. Other information
    11. Final year deductions
        A Excess deductions                           See the beneficiary's instructions       A Tax-exempt interest                               Form 1040 or 1040-SR, line 2a

          B Short-term capital loss carryover         Schedule D, line 5                       B Foreign taxes                                     Form 1040 or 1040-SR, Schedule
                                                                                                                                                   3, line 1 or Sch. A, line 6
          C Long-term capital loss carryover          Schedule D, line 12; line 5 of the
                                                      wksht. for Sch. D, line 18; and          C Reserved
                                                      line 16 of the wksht. for Sch. D,
                                                      line 19
                                                                                               D Reserved
          D Net operating loss carryover —            Form 1040 or 1040-SR, Schedule
            regular tax                               1, line 8                                E Net investment income                             Form 4952, line 4a
                                                                                               F Gross farm and fishing income                     Schedule E, line 42
          E Net operating loss carryover —            Form 6251, line 2f
            minimum tax                                                                        G Foreign trading gross receipts                    See the Instructions for
                                                                                                 (IRC 942(a))                                      Form 8873
    12. Alternative minimum tax (AMT) items
                                                                                               H Adjustment for section 1411 net                   Form 8960, line 7 (also see the
          A Adjustment for minimum tax purposes            Form 6251, line 2j
                                                                                                 investment income or deductions                   beneficiary's instructions)
          B AMT adjustment attributable to
            qualified dividends                                                                I Section 199A information                          See the beneficiary's instructions
                                                                                               Z Other information                                 See the beneficiary's instructions
          C AMT adjustment attributable to
            net short-term capital gain                                                        Note: If you are a beneficiary who does not file a Form 1040 or 1040-
          D AMT adjustment attributable to                                                     SR, see instructions for the type of income tax return you are filing.
            net long-term capital gain
                                                           See the beneficiary's
          E AMT adjustment attributable to                instructions and the
            unrecaptured section 1250 gain                 Instructions for Form 6251

          F AMT adjustment attributable to
            28% rate gain

          G Accelerated depreciation
          H Depletion
          I Amortization
          J Exclusion items                                2020 Form 8801




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                                                                                                                                                  1022

                        Schedule K-1 - Beneficiary's Share of Income, Deductions and Credits                                      TC-41K-1
         41909 EIN or SSN836708069                                Estate/trust name Hugh      Williams Family                     2019
            Beneficiary 2
          Estate or Trust Information                                              Beneficiary's Share of Utah Income, Deductions and Credits
                                                                                   1a   Utah U.S. government interest income
          A   Estate or trust EIN or SSN:                        8069              1b   Utah taxable municipal bond interest income
                                                                                   1c   Utah other interest income
          B   Estate or trust name                                                 2    Utah ordinary dividends

              Hugh Williams Family Trust                                           3     Utah net short-term capital gain
                                                                                   4     Utah net long-term capital gain
          Fiduciary Information
                                                                                   5     Utah portfolio and nonbusiness income
          C Fiduciary name, address, city, state, and ZIP code                     6     Utah ordinary business income
              Scott Williams
              Trustee                                                              7     Utah net rental real estate income
              11423 Spotted Fawn Lane                                              8     Utah other rental income
              Bigfork              MT 59911
                                                                                   9     Utah directly apportioned deductions (describe)
          Beneficiary Information

          D Beneficiary's EIN or SSN                             0922
          E   Beneficiary's name, address, city, state, and ZIP code
                                                                                   10    Estate tax deduction
              Scott K Williams                                                     11    Final year Utah deductions (describe)
              11423 Spotted Fawn Ln
              Bigfork              MT 59911

          F   Beneficiary's phone number

          G Percent of Utah income distributed to                                   12   Other Utah information
             the beneficiary
          H Dependent Beneficiary - enter "X"
             "Statement of Dependent Beneficiary Income" on file with trustee
             (See Schedule N instructions for definition of dependent beneficiary.)
          Other Information
                                                                                    13   Utah nonrefundable credits distributed to beneficiary
                                                                                         Name of credit                       Code     Amount




                                                                                   14    Utah refundable credits distributed to beneficiary
                                                                                         Name of Credit                        Code      Amount



          Tax Commission Use Only:



                                                                                   15    Utah tax withheld on behalf of beneficiary
                                                                                          "X" if withholding waiver applied for




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